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                                                                                                       Clerk
                                                                                                   District Court

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                                              THE UNITED STATES DISTRICT COUJt:MT-he Northern Mariana Islands
                3                            FOR THE NORTHERN MARIANA ISLAi'BJ!.:sS_-:::---:--.::-:::::---
                                                                                                    (Deputy Cle~

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                     MOHAMMAD FERO} AHMED,                                    Civil Action No. 09-0026
                5
                                     Plaintiff,
                6
                              v.                                              ORDER RESCHEDULING
                7                                                             HEARING
                8    GREGORY BAKA, Acting Attorney General
                     and MELVIN GRAY, Director of
                9    Immigration, in their official capacities,

               10                    Defendants.
               11

               12
                             The hearing on Defendants' motion to dismiss in this matter that is currently scheduled
               13
                    for Thursday, November 19,2009 at 9:00 a.m. is hereby taken off-calendar and rescheduled for
               14
                    Tuesday, November 17, 2009 at 9:00 a.m.
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                    IT IS SO ORDERED.
               18
                    Dated:          October 8, 2009
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               20                                                         c::?A~'~P .?nw~
                                                                         ALEX R. MUNSON
               21                                                        UNITED STATES DISTRICT JUDGE
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(Rev. 08/82)
